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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

    ARTHUR CARSON                                        *
                                    PLAINTIFF            *
                                                         *
    V.                                                   *
                                                         *            CASE NO. 4:18CV00275 SWW
    STEVE LANDERS KIA and RUSSELL                        *
    COMSTOCK                                             *
                      DFENDANTS                          *
                                                         *

                                                   ORDER

         Plaintiff Arthur Carson, proceeding pro se, brings this action pursuant to the Fair

Credit Reporting Act, naming Steve Landers Kia and Russell Comstock as defendants.

Now before the Court is a motion to dismiss by Steve Landers Kia [ECF Nos. 6, 7]

seeking dismissal based on insufficient process and insufficient service of process.

Carson has filed a response in opposition [ECF No. 10] and a motion for leave to file an

amended complaint [ECF No. 12]. After careful consideration, and for reasons that

follow, both motions are denied, and Carson has fourteen days from the entry date of this

order to file a motion to amend and a motion for service as provided in this order.

         Steve Landers Kia moves for dismissal for insufficient process and insufficient

service of process1 and reports that Steve Landers Kia is a fictitious name for LL

University LLC and that the Corporation Company is the LLC’s agent for service of




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   Motions for dismissal under Federal Rule of Civil Procedure 12(b)(5) concern the proper procedure for serving
the summons and complaint and challenge the mode or lack of delivery of the summons and complaint, and motions
for dismissal under Rule 12(b)(4) challenge the content of the summons. Federal Rule of Civil Procedure 4(e)
provides that unless waiver of service has been obtained, service of process must be made by personal delivery of
the summons and complaint to the party or his or her agent or made according to the law of the state where the
district court is located, in this case Arkansas. Arkansas law requires require service on a corporation or limited
liability company to be made by delivering the summons and complaint to an officer, managing or general agent, or
any agent authorized by appointment or by law to receive service of summons. Ark. R. Civ. P. 4(d)(5).

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process. It is undisputed that the summons and complaint named Steve Landers Kia as

defendant, rather than LL University LLC, and that service was not made in person or by

certified mail on the registered agent for service, the Corporation Company.

       Carson has filed a motion seeking leave to amend his complaint for the purpose of

naming the Corporation Company as defendant, in place of Steve Landers Kia. It appears

that Carson is attempting to correct the name of the defendant, but he erroneously

believes that the Corporation Company, which is LL University LLC’s agent for service

of process, is the proper defendant. As a pro se litigant, Carson is not excused from

complying with procedural rules, see Brown v. Frey, 806 F.2d 801, 804 (8th Cir. 1986),

but he is entitled to a reasonable degree of leniency in the prosecution of his claims.

Accordingly, the Court will deny the motion to dismiss and the motion to amend and

afford Carson an opportunity to file (1) a motion to amend the complaint for the purpose

of substituting LL University LLC in place of Steve Landers Kia and (2) a motion for

service, requesting service of the complaint and summons on LL University LLC.

       IT IS THEREFORE ORDERED that Defendant’s motion to dismiss [ECF No. 6]

and Plaintiff’s motion to amend [ECF No. 12] are denied.

       IT IS FURTHER ORDERED that Plaintiff has up to and including fourteen (14)

days from the entry date of this order in which to file a motion to amend and motion for

service as directed in this order.

       IT IS SO ORDERED THIS 21ST DAY OF JUNE, 2018.

                                                  /s/Susan Webber Wright
                                                  UNITED STATES DISTRICT JUDGE




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